      Case 3:22-cv-00211-SDD-SDJ          Document 265-3       08/29/23 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, EDGAR CAGE,
DOROTHY NAIRNE, EDWIN RENÉ SOULÉ,
ALICE WASHINGTON, CLEE EARNEST
LOWE, DAVANTE LEWIS, MARTHA DAVIS,                   Case No. 3:22-cv-00211-SDD-SDJ c/w
AMBROSE SIMS, NATIONAL ASSOCIATION
FOR THE ADVANCEMENT OF COLORED
PEOPLE (“NAACP”) LOUISIANA STATE
CONFERENCE, and POWER COALITION FOR
EQUITY AND JUSTICE,

                    Plaintiffs,

      v.

KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana,

                    Defendant.

EDWARD GALMON, SR., CIARA HART,
NORRIS HENDERSON, and TRAMELLE
HOWARD,
                                                     Case No. 3:22-cv-00214-SDD-SDJ
                    Plaintiffs,

      v.

R. KYLE ARDOIN, in his official capacity as
Louisiana Secretary of State,

                    Defendant.


           [PROPOSED] ORDER ADMITTING QIZHOU GE PRO HAC VICE
      Upon the motion of J.E. Cullens, Jr. for the admission pro hac vice of Qizhou Ge,

It is hereby ORDERED that the motion is GRANTED.

      Baton Rouge, Louisiana this ____ day of ___________, 2023.

                            ___________________________________
                            HONORABLE SHELLY D. DICK
                            UNITED STATES DISTRICT JUDGE
